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                                                                             FILED: 8/2/12
                                                                         U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT COURT
                                                                       DAVID J. MALAND, CLERK




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §    CASE NO. 1:12-CR-32(3)
                                                §
                                                §
PAUL RUIZ                                       §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On August 2, 2012, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, Paul Ruiz, on Count One of the charging

Indictment filed in this cause.

       Count One of the Indictment charges that from on or about October 4, 2011, the exact



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date being unknown to the Grand Jury, and continuing thereafter until on or about October 11,

2011, in the Eastern District of Texas and elsewhere, Paul Ruiz and other named defendants

listed in Count One of the Indictment, did intentionally and knowingly conspire, combine,

confederate and agree with other persons known and unknown to the Grand Jury, to possess with

intent to distribute a controlled substance, to wit; 5 kilograms or more of a Schedule II controlled

substance, namely, a mixture or substance containing a detectable amount of cocaine, in

violation of 21 U.S.C. § 841(a)(1), all in violation of 21 U.S.C. § 846.

       Defendant, Paul Ruiz, entered a plea of guilty to Count One and of the Indictment into

the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not



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result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Count One of the

Indictment. The Government would also prove that the defendant is one and the same person

charged in the Indictment and that the events described in the Indictment occurred in the Eastern

District of Texas and elsewhere. The Court incorporates the proffer of evidence described in

detail in the factual basis and stipulation in support of the guilty plea.

        Defendant, Paul Ruiz, agreed with and stipulated to the evidence presented in the factual

basis. Counsel for Defendant and the Government attested to Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering his guilty plea knowingly, freely

and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate



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Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement.1

Accordingly, it is further recommended that, Defendant, Paul Ruiz, be finally adjudged as guilty

of the charged offense under Title 21, United States Code, Section 846.

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

         1
           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings
  .
and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

and the courts require that, when a party takes advantage of his right to object to a magistrate’s

findings or recommendation, a district judge must exercise its nondelegable authority by

considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                     SIGNED this the 2nd day of August, 2012.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE
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